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                  UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


WSOU INVESTMENTS LLC                      §
                                          §
vs.                                       §     NO:   WA:20-CV-00464-ADA
                                          §
MICROSOFT CORPORATION                     §

                 ORDER SETTING DISCOVERY
                               DISCOVERY HEARING

      IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                        set for

DISCOVERY HEARING by Zoom
                     Zoom on November 04, 2021 at 01:00 PM.



            IT                      3rd day of November, 2021.




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
